              Case 20-00973                 Doc      Filed 03/19/21         Entered 03/19/21 13:42:29                          Desc Main
 Fill in this information to identify the case:          Document           Page 1 of 7

 Debtor 1              Stephannie Jennings
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Northern
 United States Bankruptcy Court for the: ______________________              Illinois
                                                                District of __________
                                                                             (State)
 Case number            20-00973
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association, as
                   Trustee of Bungalow Series III Trust
 Name of creditor: _______________________________________                                                           7-1
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          0984____ ____ ____
                                                         ____                            Must be at least 21 days after date       05   01   2021
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          1,630.14
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             824.22
                   Current escrow payment: $ _______________                           New escrow payment:           850.65
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
            Case 20-00973                      Doc          Filed 03/19/21            Entered 03/19/21 13:42:29                     Desc Main
                                                                Document              Page 2 of 7

Debtor 1         Stephannie Jennings
                 _______________________________________________________                                               20-00973
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle Ghidotti
     Signature
                                                                                                Date    03 19 2021
                                                                                                        ____/_____/________




 Print:             Michelle Ghidotti
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920 Old Tustin Avenue
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            bknotifications@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
              Case 20-00973           Doc       Filed 03/19/21         Entered 03/19/21 13:42:29              Desc Main
                                                    Document           Page 3 of 7
                   323 FIFTH STREET                                                                                      (800) 603-0836
                   EUREKA CA 95501                                                                Para Español, Ext. 2660, 2643 o 2772
                                                                                                      8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                              Main Office NMLS #5985
                                                                                                            Branch Office NMLS #9785




              STEPHANNIE JENNINGS
              53 E 163RD CT
              SOUTH HOLLAND IL 60473



Analysis Date: March 02, 2021                                                                                                           Final
Property Address: 53 EAST 163RD COURT SOUTH HOLLAND, IL 60473                                                            Loan
                                      Annual Escrow Account Disclosure Statement
                                                   Account History

      This is a statement of actual activity in your escrow account from Feb 2020 to Apr 2021. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information               Current:     Effective May 01, 2021:             Escrow Balance Calculation
 Principal & Interest Pmt:              779.49                 779.49              Due Date:                                   Apr 01, 2021
 Escrow Payment:                        824.22                 850.65              Escrow Balance:                                 (295.48)
 Other Funds Payment:                      0.00                   0.00             Anticipated Pmts to Escrow:                      824.22
 Assistance Payment (-):                   0.00                   0.00             Anticipated Pmts from Escrow (-):                  0.00
 Reserve Acct Payment:                     0.00                   0.00             Anticipated Escrow Balance:                     $528.74
  Total Payment:                        $1,603.71               $1,630.14


                     Payments to Escrow        Payments From Escrow                                 Escrow Balance
       Date          Anticipated   Actual      Anticipated     Actual         Description           Required       Actual
                                                                          Starting Balance           4,945.28     (3,020.97)
      Feb 2020          824.22                                        *                              5,769.50     (3,020.97)
      Feb 2020                                               4,312.18 *   County Tax                 5,769.50     (7,333.15)
      Mar 2020          824.22                   5,228.33             *   County Tax                 1,365.39     (7,333.15)
      Apr 2020          824.22                                        *                              2,189.61     (7,333.15)
      May 2020          824.22                                        *                              3,013.83     (7,333.15)
      May 2020                                               2,072.00 *   Homeowners Policy          3,013.83     (9,405.15)
      Jun 2020          824.22                   2,057.00             *   Homeowners Policy          1,781.05     (9,405.15)
      Jul 2020          824.22      908.92                            *                              2,605.27     (8,496.23)
      Jul 2020                                               3,719.23 *   County Tax                 2,605.27    (12,215.46)
      Aug 2020          824.22    1,162.62       2,605.27             *   County Tax                   824.22    (11,052.84)
      Sep 2020          824.22    1,162.62                            *                              1,648.44     (9,890.22)
      Oct 2020          824.22    1,162.62                            *                              2,472.66     (8,727.60)
      Nov 2020          824.22                                        *                              3,296.88     (8,727.60)
      Nov 2020                      380.90                            *   Escrow Only Payment        3,296.88     (8,346.70)
      Dec 2020          824.22    4,459.50                            *                              4,121.10     (3,887.20)
      Dec 2020                    5,157.53                            *   Escrow Only Payment        4,121.10      1,270.33
      Dec 2020                                               1,270.33 *   Escrow Disbursement        4,121.10          0.00
      Jan 2021          824.22    2,472.66                            *                              4,945.32      2,472.66
      Feb 2021                      824.22                            *                              4,945.32      3,296.88
      Feb 2021                      824.22                            *                              4,945.32      4,121.10
      Feb 2021                                               4,416.58 *   County Tax                 4,945.32       (295.48)

                                                                                                                               Page 1
         Case 20-00973               Doc       Filed 03/19/21            Entered   03/19/21
                                                                           Anticipated         13:42:29
                                                                                       Transactions 4,945.32Desc(295.48)
                                                                                                                 Main
Apr 2021                      824.22
                                                   Document              Page 4 of 7                             528.74
                $9,890.64 $19,340.03          $9,890.60 $15,790.32

An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
our toll-free number.


Last year, we anticipated that payments from your account would be made during this period equaling 9,890.60. Under
Federal law, your lowest monthly balance should not have exceeded 1,648.43 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




                                                                                                                                      Page 2
              Case 20-00973              Doc       Filed 03/19/21           Entered 03/19/21 13:42:29                  Desc Main
Analysis Date: March 02, 2021                                                                                                                    Final
                                                       Document             Page 5 of 7
Borrower: STEPHANNIE JENNINGS                                                                                                      Loan:
                                               Annual Escrow Account Disclosure Statement
                                                      Projections for Coming Year

     This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
     from your account.

       Date              Anticipated Payments                                                                  Escrow Balance
                         To Escrow From Escrow               Description                                 Anticipated      Required
                                                             Starting Balance                                528.74       3,239.28
     May 2021              850.65                                                                          1,379.39       4,089.93
     Jun 2021              850.65        2,072.00            Homeowners Policy                               158.04       2,868.58
     Jul 2021              850.65                                                                          1,008.69       3,719.23
     Aug 2021              850.65         3,719.23           County Tax                                   (1,859.89)        850.65
     Sep 2021              850.65                                                                         (1,009.24)      1,701.30
     Oct 2021              850.65                                                                           (158.59)      2,551.95
     Nov 2021              850.65                                                                            692.06       3,402.60
     Dec 2021              850.65                                                                          1,542.71       4,253.25
     Jan 2022              850.65                                                                          2,393.36       5,103.90
     Feb 2022              850.65                                                                          3,244.01       5,954.55
     Mar 2022              850.65        4,416.58            County Tax                                     (321.92)      2,388.62
     Apr 2022              850.65                                                                            528.73       3,239.27
                       $10,207.80      $10,207.81

    (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
     Your escrow balance contains a cushion of 850.65. A cushion is an additional amount of funds held in your escrow
     balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
     Federal law, your lowest monthly balance should not exceed 1,701.30 or 1/6 of the anticipated payment from the account,
     unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
     this issue.

     Your ending balance from the last month of the account history (escrow balance anticipated) is 528.74. Your starting
     balance (escrow balance required) according to this analysis should be $3,239.28. This means you have a shortage of 2,710.54.
     This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
     deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to do nothing.

     We anticipate the total of your coming year bills to be 10,207.81. We divide that amount by the number of payments expected
     during the coming year to obtain your escrow payment.




                                                                                                                                        Page 3
              Case 20-00973           Doc      Filed 03/19/21         Entered 03/19/21 13:42:29              Desc Main
Analysis Date: March 02, 2021                                                                                                         Final
                                                   Document           Page 6 of 7
Borrower: STEPHANNIE JENNINGS                                                                                           Loan

     New Escrow Payment Calculation
     Unadjusted Escrow Payment                      850.65
     Surplus Amount:                                  0.00
     Shortage Amount:                                 0.00
     Rounding Adjustment Amount:                      0.00
     Escrow Payment:                               $850.65




    NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
    premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
    the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
    payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
    Street, Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




                                                                                                                             Page 4
   Case 20-00973         Doc      Filed 03/19/21       Entered 03/19/21 13:42:29           Desc Main
                                      Document         Page 7 of 7


                                     CERTIFICATE OF SERVICE
     On March 19, 2021 I served the foregoing documents described as NOTICE OF MORTGAGE
PAYMENT CHANGE the following individuals by electronic means through the Court’s ECF program:
        DEBTOR’S COUNSEL
        Jessica A. Boone
        jboone@semradlaw.com

        DEBTOR’S COUNSEL
        Patrick Semrad
        psemrad@semradlaw.com

        TRUSTEE
        Marilyn O Marshall
        courtdocs@chi13.com

        U.S. TRUSTEE
        USTPRegion11.ES.ECF@usdoj.gov

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                          /s/ Marlen Gomez
                                                          Marlen Gomez

        On March 19, 2021 I served the foregoing documents described as NOTICE OF MORTGAGE
PAYMENT CHANGE on the following individuals by depositing true copies thereof in the United States
mail at Santa Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:
        DEBTOR
        Stephannie Jennings
        53 E. 163rd Court
        South Holland, IL 60473

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
and correct.
                                                          /s/Marlen Gomez
                                                          Marlen Gomez
